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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
________________________________________________________________________

RG Golf Warehouse, Inc.,                         Court File No. 19-CV-0585 (WMW/DTS)

               Plaintiff,
       vs.

The Golf Warehouse, Inc.,

           Defendant.
________________________________________________________________________

                 DECLARATION OF COUNSEL BRYAN R. BATTINA
________________________________________________________________________

I, BRYAN R. BATTINA, hereby declare and state as follows:

       1.     I am an attorney of the law firm Trepanier MacGillis Battina P.A., in

Minneapolis, Minnesota. I am one of the attorneys of record for Plaintiff RG Golf

Warehouse, Inc. in the above-captioned matter.

       2.     Attached as Exhibit A is a true and correct copy of the declaration of Brett

Hamrick dated July 31, 2018 which was filed in the Florida action.

       3.     Attached as Exhibit B is a true and correct copy of Defendant’s Answers to

Plaintiff’s Interrogatories.

       4.     Attached as Exhibit C is a true and correct copy of the e-mail sent to

defense counsel and notice of damages expert dated May 27, 2020.




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FURTHER YOUR DECLARANT SAITH NOT.

      This declaration was executed on July 9, 2020 in the County of Hennepin, State of
Minnesota. I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE UNITED
STATES OF AMERICA THAT EVERYTHING I HAVE STATED IN THIS DOCUMENT IS TRUE
AND CORRECT.

                                           /s/ Bryan R. Battina
                                        ________________________________
                                        Bryan R. Battina




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